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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA

CHRISTOPHER KOHLS and MARY
FRANSON,
                       Plaintiffs,           Court File No. 0:24-cv-3754- LMP-DLM

                                                    PLAINTIFFS’ REPLY
                   v.                           MEMORANDUM OF LAW IN
                                                SUPPORT OF MOTION FOR A
                                               PRELIMINARY INJUNCTION —
KEITH ELLISON, in his official capacity        EXPEDITED CONSIDERATION
as Attorney General of Minnesota, and                  REQUESTED
CHAD LARSON, in his official capacity
as County Attorney of Douglas County,
                             Defendants.
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                               REPLY ARGUMENT

      Fear of evolving technology “does not give legislators unbridled license to

bulldoze…satire protected by the First Amendment.” Kohls v. Bonta, 2024 U.S. Dist.

LEXIS 179933, *14 (E.D. Cal. Oct. 2, 2024).

      Defendants’ main defense: Minn. Stat. §609.771 does not mean what it says.

Ellison claims that the statute exempts parody. Not so. It criminalizes all

“deepfakes,” sufficiently “realistic” and produced by “technical means.” AI-

generated parodies are realistic this way, and an unrebutted expert commentary

agrees. Dkt.11 (“Mem.”) at 6. Ellison’s clings to intent. But every political

commentator has ”the intent to injure a candidate or influence the result of[] an

election.” The law sweeps in all “deepfakes,” including realistic satirical creations

like Kohls’s.

      And an “actual arrest, prosecution, or other enforcement action is not a

prerequisite to challenging the law.” Susan B. Anthony List v. Driehaus, 573 U.S. 149,

158 (2014). The Court should issue a preliminary injunction.


I.    Article III Standing

      Ellison describes a fictitious statute. But no safe harbor for parody exists.

Moreover, reasonable people, including elected officials, actually have found

Kohls’s videos deceptive. “Realism” exists in degrees, so Plaintiffs’ speech remains

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“arguably proscribed.” Defendants need not communicate a threat to prosecute;

the “plain text” of the statute governs.


      A.     §609.771 does not exempt parody.

      The statute defines deepfakes as media “substantially” produced using

“technical means” and “realistic” enough to confuse “a reasonable person.”

Ellison contends this “excludes parody” defined “as content that no reasonable

person would believe to be factual.” Dkt.19 (“Ellison”) at 15. Not so.

      First, commentors have construed Kohls’s speech as factual. Fact-checkers

issued alerts. Mem.6. Amy Klobuchar said that the video violated Twitter’s

misleading media policy. Mem.7. An expert in AI misinformation opined “people

looking at it don’t assume it’s a joke…precisely because it feeds into preexisting

themes [] around her.” Mem.7. Defendants do not rebut these or provide evidence

that Sen. Klobuchar, among others, is “unreasonable.” Their own experts stake no

position, but still confirm Kohls’s critics: “if the deepfake aligns with the viewer’s

expectations[], they are less likely to question its authenticity.” Dkt.23, ¶8.

      Second, the legislators did not believe parody to be exempt. Rep. Neu

Brindley sought to exempt still images, frequently “cartoonish,” considering these

“in-bounds.” Complaint ¶43. And Rep. Stevenson successfully opposed the

amendment, arguing that images could still be deceptive, citing an image created

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as a parody—of Donald Trump being arrested. Id. When a legislator thought the

bill might outlaw Saturday Night Live, Sen. Maye-Quade responded “SNL fans can

rest easy”—not because parody is exempt, but because SNL employs physical

impersonation. Compl. ¶46.

      Third, Ellison’s gloss on “realistic” does not exist in the statute, which is

unconstitutionally vague about the issue. Mem.32-33. Defendants do not deny the

likeness of Kohls’s videos’ synthetic voice to Kamala Harris’s.

      Fourth, Ellison’s citation to Hustler demonstrates the chilling nature of the

statute even if it excluded parody. A jury deliberated concerning the realism of a

labelled parody ad to determine whether it “could not reasonably be understood

as describing actual facts.” Hustler v. Falwell, 485 U.S. 46, 57 (1988). The “reasonable

person” test makes claims against satire and parody colorable, because they

employ realism for rhetorical effect.

      This means that under both the statutory definition (“realistic”), and even

under Ellison’s out-of-thin-air parody exception, speech is trampled. “Realism” is

a spectrum, not a binary. See Mem.34 n.12. Parody’s constitutional protection

doesn’t turn on whether it “confuse[s]” one, ten, or “even one hundred people.”

Novak v. City of Parma, 932 F. 3d 421, 427 (6th Cir. 2019).




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       The vagueness of the prohibition—whether the video is believably

“realistic” or not to the reasonable person—means that Plaintiffs’ activity is at least

“arguably proscribed.” Parents Defending Education v. Linn Mar Cmty. Sch. Dist., 83 F.4th

658, 667 (8th Cir. 2023).


       B.     Plaintiffs face a credible threat of enforcement.

       Plaintiffs need not wait for “an actual arrest, prosecution, or other enforcement

action,” but may pursue a pre-enforcement challenge if there is a credible threat of future

enforcement of a statute that arguably proscribes his constitutional activity. SBA List, 573

U.S. at 158, 161-65. This is a “forgiving standard.” Turtle Island Foods, SPC v. Thompson,

992 F.3d 694, 699 (8th Cir. 2021).

       “When dealing with pre-enforcement challenges to recently enacted…statutes

that facially restrict expressive activity[], courts will assume a credible threat of

prosecution.” St. Paul Area Chamber of Commerce v. Gaertner, 439 F.3d 481, 486 (8th Cir.

2006) (cleaned up). The law’s “plain text” supplies the threat of enforcement. Parents

Defending Educ., 83 F.4th at 667. That “plain text” does not include Defendants’

imagined parody exemption.

       Finally, confirming the credible threat, neither Defendant disavows

enforcement. SBA List, 573 U.S. at 165. While Larson avers that he is not currently

investigating any violation, he argues against losing his “discretionary authority.”

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Dkt.22 (“Larson”) at 9, 14. This “harm” only exists because Larson has not ruled out

prosecution; the lack of “present[]” intention to enforce “do[es] not alter the

analysis.” Bryant v. Woodall, 1 F.4th 280, 288 (4th Cir. 2021). Ellison urges the Court to

“consider limiting constructions” (Ellison.40), but does not offer any. 1


II.   Content and Viewpoint Discrimination

      Ellison (at 28) asserts that the statute equally prohibits negative and

laudatory viewpoints, but reads “consent” entirely out of the statute. Candidates

can freely promulgate positive deepfakes because it only applies to content “made

without the consent of the depicted individual.” Mem.21-22. The law’s equal

application to nonconsensual deepfakes does not absolve it from viewpoint

discrimination, because consent tracks a perspective. Burnham v. Ianni, 119 F.3d 668,

676 (8th Cir. 1997) (en banc) (viewpoint discrimination); Young America’s Foundation

v. Kaler, 370 F. Supp. 3d 967, 989 (D. Minn. Feb. 26, 2019). Allowing speech on the

basis of the subject’s consent “single[s] out a subset of messages for disfavor based on

the views expressed.” Matal v. Tam, 582 U.S. 218, 248 (2017) (Kennedy, J., concurring).




      1
        In-court assurances would “not rule out the possibility that it will change
its mind and enforce the law more aggressively in the future.” Rodgers v. Bryant,
942 F.3d 451, 455 (8th Cir. 2019).

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       Ellison attempts (at 29) to analogize Animal Legal Def. Fund v. Reynolds, but

that anti-trespass statute did not engage in viewpoint discrimination by

“prefer[ring] laudatory lies over critical falsehoods.” 89 F.4th 1065, 1070 (8th Cir.

2024). The statute here does—for deepfakes perpetuated by candidates in support

of themselves. It is an unconstitutional speaker-based distinction that “le[aves]

unburdened those speakers whose messages are in accord” with particular views.

NIFLA v. Becerra, 585 U.S. 755, 758 (2018).

       Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2397 (2024) concerns content

discrimination and overbreadth, not facial viewpoint-based discrimination. Ellison.21-

22; see NetChoice, LLC v. Attorney General, Fla., 34 F.4th 1196, 1224 (11th Cir. 2022). When,

as here, a challenged law restricts pure speech by viewpoint, it cannot be “salvage[d]

by…constitutionally permissible applications.” Iancu v. Brunetti, 588 U.S. 388, 398 (2019).

The finding of viewpoint discrimination “end[s] the matter” and “renders unnecessary

any extended treatment of other questions.” Id. at 399. The same is true of a facially

vague speech-chilling law—it cannot be salvaged by applications to unprotected

activity.


III.   Facial Overbreadth

       Even if §609.771 only imposes content discrimination, it cannot survive a facial

challenge under NetChoice. The law criminalizes “realistic” generated content

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distributed with the intent to “influence the result of an election”—like all electioneering.

       Most applications violate the First Amendment because the statute does not

target “legally cognizable harms” or historically-established exceptions to free

speech. United States v. Alvarez, 567 U.S. 709 (2012) (plurality). None of the statute’s

limitations alter this fact, nor cure the statue’s overbreadth, which prevents it from

satisfying strict or intermediate scrutiny.


       A.     Section 609.771 does not causally link to any cognizable harm.

       Cognizable harms resemble fraud—lies intended to deprive the listener of

something “material.” Alvarez, 567 U.S. at 719, 723. Ellison (at 25) suggests three

harms: candidate “defamation,” “voter rights,” and “free and fair elections.”

       While fraud is cognizable, the law does not address it. Ellison says it’s

“defamation” (id.), but he later contradicts himself—by arguing defamation-type

torts—requiring harm to “reputation”—are “insufficient.” Id. at 33. As in

California, the statute here “extends beyond” defamation by requiring no harm to

reputation. Kohls, 2024 U.S. Dist. LEXIS 179933, *9.

       As for voter rights, states’ interest in electoral integrity does not apply to

political speech beyond falsehoods about voting procedures. E.g., 281 Care

Committee v. Arneson, 766 F.3d 774, 778 (2014); Commonwealth v. Lucas, 34 N.E.3d

1242 (Mass. 2015). Courts contrast “lies about ‘election procedures’”—where a

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“narrower restriction[] might pose fewer problems”, with lies about campaigns

and government officials—areas that should be “categorically immune from

liability.” Eugene Volokh, When are Lies Constitutionally Protected, 4 J. FREE SPEECH

L. 685, 704-09 (2024).

      Although Defendants focus on the Biden deepfake robocall, 2 Ellison.4, 9-10,

the First Amendment does not allow statutes to elide the distinction. Ellison (at 25)

says that “[i]ntentionally providing voters with []misleading information injures”

the right to vote. Untrue; while states do criminalize interfering with voting, false

political speech is protected. Most, if not all, Defendants’ cases involve laws

safeguarding voting mechanics. Ellison.25 (actions defrauding shareholders’

votes), 27 (messages intended to prevent voting). The government prosecuted a

creator of a false ad encouraging Clinton voters to vote via text. Ellison.28. That

court distinguished “content-based regulations of political speech… consistently

subject to strict scrutiny,” and “speech…related to politics only in so far as it

proscribes the procedures governing elections.” United States v. Mackey, 652




      2
         -New Hampshire criminally indicted the alleged perpetrator of that call,
demonstrating the availability of more narrowly tailored, content-neutral
alternatives. David Shepardson, US political consultant indicted over AI-generated
Biden robocalls, REUTERS (May 23, 2024), https://www.reuters.com/world/us/us-
political-consultant-indicted-over-ai-generated-biden-robocalls-2024-05-23/.

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F.Supp.3d. 309, 344 (E.D.N.Y. 2023). Ellison’s cases involve “speech that is not

political in nature”; Minnesota’s law targets speech that is. Mem.25-26. 3

      Finally, Ellison alleges (at 25, 33) decidedly intangible societal harms to “free

and fair elections” and “the state’s election-integrity interests.” But Alvarez would

have come out Ellison’s way if intangible social harms (respect for the military,

veterans, and war medals) permitted the government to “compile a list of subjects

about which false statements are punishable.” Alvarez, 567 U.S. at 710.

       281 Care Committee controls, as it mirrors the challenged statute. 766 F.3d at

778. Ellison claims (at 30) that the panel only “applied strict scrutiny because the

challenged statute ‘target[ed] falsity, as opposed to the legally cognizable harms

associated with a false statement,’” but no such distinction exists. The statute in

281 Care Committee purported to target the same harms Ellison claims: “to preserve

fair and honest elections and prevent a fraud on the electorate.” 766 F.3d at 786.

The panel rejected these: “Directly regulating what is said or distributed during

an election…goes beyond an attempt to…carefully protect the right to vote.” Id. at




      3
       Ellison’s other citations to ballot cases like Soltysik, Bishop, and Grimes—
which apply a different legal framework—do not imply states can curtail
misleading election-related private speech.


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787. Instead, it “tamper[s] with the right of citizens to choose who shall govern

them.” FEC v. Cruz, 596 U.S. 289, 305-06 (2022). Strict scrutiny applies. 4


      B.     The law’s overbreadth fails strict (or intermediate) scrutiny.

             1.     Neither intent, nor mens rea, nor date limitations
                    sufficiently tailor the law.

      Ellison repeatedly touts the “actual-malice” standard, but this necessary

element is not sufficient when the statute requires no cognizable harm. 281 Care

Committee, 766 F.3d at 794. It “does not eliminate the threat by [the statute’s]

staggering reach.” Animal Legal Def. Fund, 878 F.3d at 1197-98. “First Amendment

freedoms need breathing space to survive. An intent test provides none.”

Wisconsin Right to Life v. FEC, 551 U.S. 449, 468-69 (2007). The actual malice

standard was designed “to tolerate certain speech,” it “ought not blossom to

become a rationale for a rule restricting it.” Alvarez, 567 U.S. at 720.

      Intent does not resolve the overbreadth. All electioneering speech aims to

“influence the result of an election.” 281 Care Committee, 766 F.3d at 794.

      Finally, contrary to how the law has been justified, Mem.24; Dkt. 23 ¶19,

there is no temporal limitation. As in McIntyre, the statute “applies not only to




      4
        281 Care Committee rejects Ellison’s reliance (at 27) on an Alvarez
concurrence. 766 F.3d at 784.

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[speech] distributed on the eve of an election...but also to [that] distributed months

in advance.” 514 U.S. at 352. The First Amendment does not take three-month

vacations. This lack of tailoring is especially striking given the legislative

hypothetical (a deepfake mailing sent a week before an election “without any

opportunity to redress” (Mem. 24)), and Ellison’s expert’s discussion of deepfakes

“right before the election (days or even hours, rather than weeks).” Dkt. 23, ¶19.

             2.    The law cannot withstand any level of scrutiny.

      The law cannot pass constitutional scrutiny for several reasons.

      1. The mens rea and other limitations do not sufficiently tailor the statute. 281

Care Committee, 766 F.3d at 794. Under intermediate or strict scrutiny, “[l]ess-

infringing regulation” is obviously possible.

      2. These alternatives include counterspeech (id.) or “existing criminal laws.”

NetChoice, LLC v. Bonta, 113 F.4th 1101, 1121 (9th Cir. 2024). Criminal law

protections already safeguard against the Biden deepfake scenario. See supra n.3;

Minn. Stat. § 211B.075 (prohibiting interference with voting rights). Ellison (at 33)

declares tort remedies inadequate because they require “harm to the depicted

person’s reputation,” but this only demonstrates that the law is not directed to

such cognizable harms. The state’s free-floating “fair election” interest is not

compelling. See supra.


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      3. Counterspeech is the “most immediate remedy to an allegation of falsity.”

281 Care Committee, 766 F.3d at 793. It’s particularly appropriate for speech within

months of elections like in McIntyre and here. Had the statute been narrowly

tailored to only cover the eve of an election, perhaps it would be truly “impossible

to engage in counterspeech,” but this is obviously false 90 days before an election. 5

Defendants experts’ ipse dixit cannot supersede First Amendment doctrine. See

Plaintiffs’ forthcoming Motion to Exclude.

      4. Opening the floodgates to retaliatory lawsuits against political opponents

“undermines the state’s interest in promoting fair elections.” SBA List, 814 F.3d at

475. That a plaintiff would need to establish standing and state a claim on the

merits (Ellison.37) is little comfort because attending to the lawsuit is itself

punitive. “[D]amage is done at the time a complaint is filed.” 281 Care Committee,

766 F.3d at 792.

      5. When the law is underinclusive because it neglects to address the major

aspect of the conceived harm, courts consistently hold that fails narrow tailoring.

E.g., Miller v. Ziegler, 109 F.4th 1045, 1052 (8th Cir. 2024). Hagiographic deepfakes




      5
        Ellison (at 32) cites Davis, which permitted public financing. Minnesota
could take this approach by sponsoring speech to rebut deepfakes. Mem.29. Davis
shows counterspeech is not “impossible.”

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that promote a candidate are legal. Allowing politicians greater speech rights than

independent commentators is perverse. McIntyre, 514 U.S. at 351.


IV.    Vagueness

       Ellison cites (at 41) several doctrines that employ a reasonable person

standard in the context of historically unprotected speech. But what is “so realistic” to

deceive one reasonable person is not to another. The Constitution “demands a

greater degree of specificity” when historically protected speech is implicated.

Parents Defending Educ., 83 F.4th at 668 (internal quotation omitted).

       The “substantially dependent” on technical means language is also “far

from clear”. Sackett v. EPA, 598 U.S. 651, 681 (2023). Even requirements that

“narrow[]” the statutory definition can “create” the vagueness problem. E.g.

Gentile v. State Bar of Nevada, 501 U.S. 1030, 1048--51 (1991).

       Ellison again relies on his statutory interpretation, claiming parody

categorically exempt, but courts may not “rewrite a law” to make it constitutional.

Iancu, 588 U.S at 397. Anyway, an atextual parody exemption is as vague as

“realistic.” Parody is an intrinsically subjective concept. 6




       6
       Ellison’s expert elsewhere agreed: “reasonable people still might not agree
whether you’re looking at fake news, hyper-partisan news, satire, or some other
form of misinformation.” Bednarz Ex.6 (from CALLING BULLSHIT).

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       Finally, scienter requirements cannot resolve vagueness problems because

the object of that intent (injuring a candidate or influencing an election) is vague.

Mem.35 at n.13. 7


V.    Preliminary Injunction

      Because Plaintiffs show a likelihood of success, the other preliminary injunction

factors follow. Mem.11-12.


      A.     The public’s interest in speech and balance of equities favor
             injunction.

      Minnesota would only be harmed by injunction if the statute is

constitutional. Org. for Black Struggle v. Ashcroft, 978 F.3d 603, 609 (8th Cir. 2020). -

If unconstitutional, public interest favors injunction.


      B.     Plaintiffs’ acts and timing in bringing their motion do not negate
             the harm.

      Chilled speech is an objective test. Garcia v. City of Trenton, 348 F.3d 726, 729

(8th Cir. 2003). Plaintiffs are iconoclasts; Franson posts despite unneighborly

harassment and negative media attention. Compl. ¶7, 37. The statute objectively

chills speech even though the Plaintiffs defy it. “Franson knows that other




      7
        Larson spills ink arguing that Plaintiffs cannot bring Monell claims. Larson
15-30. Plaintiffs have not.

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Republicans have tamped down on social media because of concern about the

law.” Id. ¶36. In turn, that limits the reach of Plaintiffs’ speech.

      As for timing, Hotchkiss v. Cedar Rapids Community School District, 115 F.4th

889 (8th Cir. 2024), is distinguishable. Here, Plaintiffs waited significantly less time

to sue than Hotchkiss’s 16-month delay—less two months for Kohls, and Franson

averred she was unaware of the law’s overbreadth until July 29. Compl. ¶35.

§609.771 was sandwiched between two deepfake porn provisions Franson

supported. Id. ¶54. Further, Hotchkiss ceased the acts which substantiated harm—

making such harm “speculative.” Id. at 894. Here, Plaintiffs’ retain and continue to

post AI-generated videos. By subjecting them to prosecution, the law objectively

chills Plaintiffs and those they follow from sharing similar content.

      Separately, Ellison’s cited cases regarding the “statute [] not cover[ing] the

desired activities” are inapplicable. In Turtle Island Foods v. Richardson, there was

no irreparable harm because plaintiffs’ products fell outside the statute and they

were advised of such. 425 F. Supp. 3d 1131, 1141 (W.D. Mo. 2019). 8 And in Ness v.

City of Bloomington, 437 F. Supp. 3d 714, 723 (D. Minn. 2020), the plaintiff had




      8
        Turtle Island is further distinguishable because it addressed commercial
speech rather than core political speech. 425 F. Supp. 3d at 1139-40.

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commitments that defendants would not prosecute. Id. But §609.771 criminalizes

Plaintiffs’ speech, and Plaintiffs have no guarantee from either Defendant.


                                  CONCLUSION

      Plaintiffs respectfully request that the Court enjoin Defendants from

enforcing the statute pending the final resolution of this case.




Dated: November 15, 2024        Respectfully submitted,

                                /s/ M. Frank Bednarz
                                Douglas P. Seaton (#127759)
                                James V. F. Dickey (#393613)
                                Alexandra K. Howell (#0504850)
                                UPPER MIDWEST LAW CENTER
                                12600 Whitewater Drive, Suite 140
                                Minnetonka, MN 55343
                                Voice: 612-428-7000
                                Email: Doug.Seaton@umlc.org
                                James.Dickey@umlc.org
                                Allie.Howell@umlc.org

                                M. Frank Bednarz (pro hac vice)
                                HAMILTON LINCOLN LAW INSTITUTE
                                1440 W. Taylor St. # 1487
                                Chicago, IL 60607
                                Voice: 801-706-2690
                                Email: frank.bednarz@hlli.org

                                Attorneys for Plaintiffs Christopher Kohls
                                and Mary Franson




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